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                                                                      FILED
                                                            CLERK, U.S. DISTRICT COURT
1    Hon. Rosalyn M. Chapman (Ret.)
     JAMS
2
     555 West 5th Street, 32nd Floor                             JULY 19 2018
3    Los Angeles, CA 90013
     213-253-9776
4    mdawson@jamsadr.com                                  CENTRAL DISTRICT OF CALIFORNIA
     SPECIAL MASTER                                               vdr
                                                            BY: ___________________ DEPUTY
5

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7
                               UNITED STATES DISTRICT COURT
8
                             CENTRAL DISTRICT OF CALIFORNIA
9

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11
     CITY OF ALMATY,                           )
12                                             )
                       Plaintiff               ) Case No: 14 CV-03650-FMO(FFMx)
13
                 v.                            )
14                                             ) (JAMS Ref. No: 1220059413)
     VIKTOR KHRAPUNOV, et al.,                 )
15                                             )
                         Defendant(s).         )
16
     __________________________________________)
17
                                  INITIAL DISCOVERY ORDER
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19
            An initial discovery status conference was held in-person before Special Master Hon.
20
     Rosalyn Chapman (Ret.) on July 19, 2018, pursuant to written notice from the Special Master.
21
     David Schindler, Kendall M. Howes, and Justine Wallace, attorneys with Latham & Watkins
22

23   LLP, appeared on behalf of Plaintiff and Martha Boersch and Lara Kollios, attorneys with

24   Boersch Shapiro, appeared on behalf of Defendants.
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26
            1. The Special Master and counsel discussed the Order Appointing Special Master (Dkt.
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28
     No. 259).

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            2. It is apparent to the parties and the Special Master that fact discovery will not be
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     completed prior to August 13, 2018; thus, it is expected that the parties will jointly request that
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     Judge Olguin extend the discovery cut-off dates for fact and expert discovery.

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7           3. The Special Master requested that the parties select two attorneys from each side to
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     act as discovery counsel, who jointly will be responsible for developing an amended Rule 26(f)
9
     discovery plan for fact discovery, as discussed below; promptly meeting and conferring on
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11   discovery disputes; preparing a joint protective order, if Dkt. Nos. 102-103 are insufficient;

12   establishing ESI protocols, if Dkt. No. 118 is insufficient; representing the parties in monthly
13
     telephonic status conferences with the Special Master; and generally handling discovery matters
14
     on an emerging and urgent basis.
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17          Plaintiff has selected Kendall M. Howes, Jonathan M. Jackson and Justine Wallace as its

18   discovery counsel and Defendants have selected Martha Boersch and Lara Kollios as their
19
     discovery counsel.
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22
            4. The Special Master and counsel have established a regular date and time for monthly

23   telephonic status conferences, commencing August 14, 2018, at 5:00 p.m. (for this call only),
24   using Latham & Watkins’ conference number. The Special Master will provide counsel with
25
     advance notice of the dates and times of the telephonic conferences.
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            5. Any requests for additional telephonic conferences with the Special Master should be

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1    directed JAMS Case Manager, Michael Dawson, who will arrange for the conference.
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            6. The Special Master orders the parties to provide her with their Initial Disclosures and
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     any amendments thereto and with hard copies of the following documents: Docket Nos. 185,

6    200, 205, 206, 208, 209, 213, 214, 221, 232, 233, 235, 237, 238, 239, 241, 243, 244, 245, 246
7    and 255. Additionally, the Special Master directs all parties, going forward, to provide her with
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     hard copies of any documents totaling more than 50 pages filed with the Clerk of Court, whether
9
     or not related to discovery, and any documents the parties request to file under seal or for in
10

11   camera review.

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13
            As to any request to file a document(s) under seal or for in camera review, the party
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     making the request shall file a notice of lodgment identifying the document(s) by Bates
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     number(s) (or otherwise) and emailing the document(s) to the Special Master only and, if the
16

17   document(s) is more than 50 pages, also mailing the Special Master a hard copy of the

18   document(s). All hard copies should be sent to the Special Master at her address of record with
19
     the State Bar of California: Post Office Box 612, Pacific Palisades CA 90272 by United States
20
     Postal Service; not UPS or FedEx.
21

22

23          7.   Any discovery motion and Joint Stipulation under Local Rule 37 shall be filed
24   electronically on Pacer, without the moving party setting a hearing date. Rather, the Special
25
     Master will set the date for a telephonic oral argument after reviewing the papers. In-person oral
26
     argument will not be held, as it increases the cost of discovery. Any party to a discovery motion
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28
     may seek attorney fees under Fed.R.Civ.P. 37 and the Special Master will rule on the request.

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1    The Special Master advises the parties that privilege logs should generally be provided at least
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     30 days after a party has responded to written discovery asserting claims of privilege for
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     documents, unless the parties agree otherwise, and that privilege logs should comply with Dole
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5
     v. Milonas, 889 F.2d 885, 888 n. 3 (9th Cir. 1989). The Special Master expects strict compliance

6    with Local Rule 37 and requires counsel to be familiar with and comply with the Guidelines for
7    Civility and Professionalism.
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            8. Any Proposed Order submitted to the Special Master shall be in Word format that
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11   allows editing by the Special Master.

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            9. If a party seeks the Special Master’s presence at a deposition, the party should consult
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     with Case Manager, Michael Dawson, to assure the Special Master’s availability before noticing
15
     the deposition.
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18          10. The Federal Rules of Civil Procedure require that the rules governing the procedure
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     in all civil actions “should be construed and administered to secure the just, speedy, and inexpen-
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     sive determination of every action and proceeding.” Fed.R.Civ.P. 1. With this goal in mind,
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22
     counsel for the parties shall meet and confer and, no later than August 20, 2018, file an

23   Amended Rule 26(f) Discovery Plan for the Special Master’s approval that lays out fact
24   discovery on a monthly basis from the present through the new discovery cut-off date established
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     by Judge Olguin and assures completion of discovery by that date. At a minimum, the Amended
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     Discovery Plan should address privacy issues, how to utilize discovery (if any) from other
27

28
     similar cases between the parties, third party discovery, releases or consents from Defendants for

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1    information from third parties, such as banking and other institutions, the nature and scope of
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     written discovery, the prioritizing of certain discovery, the manner in which compliance with the
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     outstanding Orders of Judge Mumm can be assured, and the like.
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6           11. The Special Master and counsel also discussed Judge Mumm’s Orders in Docket
7    Nos. 224 and 242.
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11          IT IS SO ORDERED.

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            IT IS FURTHER ORDERED that the Case Manager shall promptly file and serve the
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     Order on the parties and the District Court.
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17   Date: July 19, 2018                       ___________________
                                           By: _________________________________________
     1220059418.1                          Hon.. Rosalyn Chapman (R
                                                                 (Ret.)
18                                         Special
                                                i l Master
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                                          INITIAL DISCOVERY ORDER
